The statute (Chap. 62, Laws of 1863), regulating "the construction of roads and streets across railroad tracks," and the interpretation heretofore given to it by this court (AlbanyN.R.R. Co. v. Brownell, 24 N.Y. 345; Boston  Albany R.R.Co. v. President and Trustees of the Village of Greenbush,
52 id. 510) requires the affirmance of the judgment. The statute (supra) makes it lawful for the authorities of certain municipalities, among whom are the defendants, "to lay out any street or highway across the track of any railroad," then laid, or which might thereafter be laid out, "without compensation to the corporation owning such railroad," makes it the duty of the corporation to cause the street or highway to be taken "across their tracks" (§ 2), and for neglect in causing the necessary work to be done and completed on such streets or highways "across their road," imposes a penalty. There is also reference to the provisions of section 24 of the General Railroad Act (act of 1850, chap. 140) relating to crossing or intersection of a highway by the track of a railroad company, and they are made applicable to streets and highways thereafter laid out.
From these enactments it is apparent that the "track" spoken of in the act of 1863 (§ 1, supra) is the same thing as the track specified in section 24 of the act of 1850, and signifies the entire road-bed, and not merely the iron or railway. If, therefore, there are within its limits, and between the lines of any proposed street or highway, switches, or *Page 25 
points, or other contrivance for passing engines or cars from one line of rails to another, it could not prevent the laying out of a street or road, under the act in question.
Nothing more appears here. The land with which interference is threatened is part of the road-bed, or track; is neither depot-grounds nor improved property, except for track, or public traffic purposes, and is within the letter of the statute. "It is," finds the trial court, "five rods in width, is covered by four railroad tracks, two of which are the main tracks for the railroad for the passing of cars, and two of which are extra tracks extending several hundred feet, both to the north and south of the proposed street crossing, and are used, in connection with others, for switching cars, making up trains, and for allowing cars to stand upon them until they can be put into trains about to depart," and these premises, so used, are characterized as "more like a yard for the transfer of cars than depot-ground."
This description of the locus in quo brings the case almost literally within those above cited, especially the Greenbush case. That decision is put entirely upon the act of 1863, and is to be followed. The map, as well as the finding, shows that the tracks thus spoken of are used neither exclusively nor substantially for storing cars. So far from being ground upon which tracks are laid for storing cars, it is part of the road-way taken for public travel and carriage, and the tracks are evidently mere turnouts or switches furnishing passage, but where trains may also be made up, and cars transferred. They are appropriately termed by the trial court, "extra tracks." But they are laid on land acquired by the corporation for the purpose of locating the track, and for this purpose solely, and although it may prevent facilities for approaching water-tanks and engine-houses, the street will cross no ground acquired for such purposes, and it may, we think, be laid out without compensation to the plaintiff. To hold otherwise would enable a railroad company, by a judicious adjustment of switches, turnouts, turn-tables, water-tanks and other accessories of its roadway or business, so to control its whole way *Page 26 
as to exclude a new street or highway crossing at any point along its line.
We have here turnouts, or extra tracks of great length; the same doctrine which would protect them against the proposed public improvement would apply if their length should be indefinitely extended, and such a result shows the manifest injustice to the public which the conclusion contended for by the appellant would occasion, if adopted by us. Upon the plain reading of the statute and the authority of the decisions cited, the case is justly with the respondents, and we find no case cited by the appellants, nor any point made in their behalf, which require us to take it from them.
The judgment should be affirmed.
All concur.
Judgment affirmed.